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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


TERESA MATTHEWS, et al.,

       Plaintiffs,

v.                                             Civil Action No. 20-0595 (DLF)

DISTRICT OF COLUMBIA,

      Defendant.


               MEMORANDUM OF POINTS AND AUTHORITIES
                 IN SUPPORT OF DEFENDANT’S MOTION TO
             DISMISS PLAINTIFFS’ FIRST AMENDED COMPLAINT

                                 INTRODUCTION

      Plaintiffs are seven motorists who allege that the District of Columbia (the

District) improperly designated sections of Route 295 as a work zone, or alternatively

failed to post the required signs alerting drivers to the existence of the work zone,

and thus unlawfully ticketed and imposed doubled civil fines on them and other

drivers for speed violations captured by traffic cameras located within the work zone.

Plaintiffs seek injunctive and declaratory relief, as well as damages and restitution,

bring claims for unjust enrichment and money had and received, and allege violations

of the Excessive Fines Clause of the Eighth Amendment and Due Process Clause of

the Fourteenth Amendment.

      The First Amended Complaint should be dismissed. Plaintiffs lack standing to

request injunctive or declaratory relief because they have not alleged any ongoing or

imminent risk of future harm. The District modified the boundaries of the Route 295
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work zone before this lawsuit was filed, and two of the speed cameras plaintiffs

challenge are now outside of the work zone. In addition, the District lifted the 40

miles per hour speed restriction in these areas and is no longer imposing doubled civil

fines. Plaintiffs fail to allege any risk of future harm from the remaining speed

camera within the work zone. Moreover, plaintiffs Reginald Matthews, Delmar Little

and Erica Smith also lack standing to bring any claims because they have suffered

no injury, and Makya Little’s claims should be dismissed because she failed to

exhaust administrative remedies. Beyond plaintiffs’ lack of standing, plaintiffs fail to

state a claim or any constitutional violation and cannot establish municipal liability

under 42 U.S.C. § 1983 (Section 1983). Even if the Court disagrees, plaintiffs Teresa

Matthews, James Gartner and Dmitry Bekker’s claims are still subject to dismissal

under the doctrine of res judicata or, alternatively, collateral estoppel, because each

was found liable for speeding in a work zone through the administrative process.

                                   BACKGROUND

      On May 23, 2019, the District announced that, because of five large-scale

construction projects planned along D.C. Route 295, the speed limit along Route 295

between Exit 1 to the south and East Capitol Street to the north would be reduced

from 50 miles per hour to 40 miles per hour from May 24, 2019 through 2021. See

District Department of Transportation (DDOT) Press Release, DDOT to Reduce

Speed Limit in I-295 Corridor Through 2021, May 23, 2019, available at

https://ddot.dc.gov/release/ddot-reduce-speed-limit-i-295-corridor-through-2021; see

also First Am. Compl. (FAC) [11] ¶ 73 (alleging the District recalibrated speed



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cameras on this stretch of Route 295 beginning on May 24, 2019). Plaintiffs do not

dispute that a significant amount of construction work has occurred—and continues

to occur—along Route 295. FAC ¶¶ 19-21, 20-35, 72, 76-77, 81-82.

I.        Plaintiffs’ Allegations

          A.     Pennsylvania Avenue Camera: Dmitry Bekker, Teresa Matthews and
                 Reginald Matthews

          On August 4, 2019, plaintiff Dmitry Bekker was cited for speeding in a

     southwest bound lane of Route 295, near Pennsylvania Avenue, S.E., after an

     automated traffic camera at that location (the Pennsylvania Avenue Camera)

     observed his vehicle travelling 55 miles per hour in a 40 miles per hour work zone.

     FAC ¶¶ 131, 138. Because the area was designated a work zone, the citation carried

     a doubled civil penalty of $200. Id. ¶ 139. On August 21, 2019, Mr. Bekker contested

     his citation, but his challenge was denied, and he was found liable for the violation.

     Id. ¶ 146. Mr. Bekker requested reconsideration of the decision on March 28, 2020,

     and reconsideration was also denied. Id. ¶¶ 147-148. Then, on April 26, 2020, he

     filed an administrative appeal and paid the $200 fine. Id. ¶ 149.

          On November 8, 2019, plaintiffs Teresa Matthews and Reginald Matthews

(together, the Matthewses) were each cited separately for speeding on Route 295 after

the Pennsylvania Avenue Camera observed each of their vehicles traveling more than

10 miles per hour above the posted 40 miles per hour speed limit. See id. ¶¶ 92, 102

(Teresa Matthews travelling 52 miles per hour); id. ¶¶ 113, 122 (Reginald Matthews

travelling 55 miles per hour). Because the area was designated a work zone, each

citation carried a doubled civil penalty of $200. Id. ¶¶ 17, 103, 123. On December 19,


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2019, Ms. Matthews admitted liability and paid the $200 fine. Id. ¶ 109. Mr.

Matthews, on the other hand, contested his ticket, and the notice of infraction was

dismissed. Id. ¶ 130.

            The Matthewses and Mr. Bekker do not dispute that there was a 40 miles per

hour speed limit sign posted near the area where they were cited, see id. ¶¶ 96, 117,

134-135, that there was a sign posted indicating the area was a work zone, and that

another sign alerted drivers that fines for traffic violations would be doubled. See id.

Instead, the Matthewses and Mr. Bekker allege that the speed limit should not have

been reduced from 50 miles per hour to 40 miles per hour and they should not have

been ticketed or assessed a doubled civil fine because work was not occurring at the

time they were cited and the District failed to post multiple work zone signs as

required by statute. See id. ¶¶ 97-144.

            B.    Exit 1 Camera: Erica Smith

            Plaintiff Erica Smith alleges that she was cited for speeding on November 23,

    2019, after an automated camera located on Route 295, northwest bound near Exit

    1 (Exit 1 Camera) observed her vehicle travelling 52 miles per hour in a 40 miles per

    hour work zone.1 FAC ¶ 86. Ms. Smith alleges that she did not observe any signs

    indicating that area of Route 295 was a work zone that the speed limit was reduced

    to 40 miles per hour, or that fines would be doubled. Id. ¶¶ 88-89. Because the area

    was designated a work zone, the citation carried a doubled civil penalty of $200. Id.

    ¶ 86.


1     However, this citation was issued to non-party Lisa Smith, not Erica Smith.
See FAC Ex. C [11-3].
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           C.    Exit 2 Camera: Makya Little, Delmar Little and James Gartner

           On March 29, 2020, plaintiffs Makya Little, Delmar Little (together, the

 Littles) and James Gartner allege they were cited for speeding on Route 295,

 southwest bound approximately 0.4 miles south of Exit 2 after an automated traffic

 camera at that location (Exit 2 Camera) observed each of their vehicles travelling

 more than 10 miles per hour above the 40 miles per hour speed limit. See id. ¶ 76 (the

 Littles travelling 52 miles per hour);2 id. ¶ 81 (James Gartner travelling 53 miles per

 hour). Because the area was designated as a work zone, each was assessed a doubled

 civil fine of $200. Id. ¶¶ 76, 81. The Littles and Mr. Gartner allege that they did not

 see any signs indicating this area of Route 295 was a work zone that the speed limit

 was 40 miles per hour, or that fines were doubled. Id. ¶¶ 79, 84. They contend that

 the speed limit near the Exit 2 Camera should not have been reduced from 50 miles

 per hour to 40 miles per hour, and they should not have been ticketed or assessed a

 double civil fine. FAC ¶¶ 80, 85. Plaintiffs further allege that even if it were a work

 zone, the District failed to post multiple work zone signs as required by law. Id. On

 April 30, 2020, Mr. Gartner’s $200 fine was paid. See Ex. A, Supplemental

 Declaration of Lamont Hinton (Hinton Suppl. Decl.) ¶ 7.

II.        Procedural Background

           On January 13, 2020, the Matthewses filed this putative class action in the

 Superior Court of the District of Columbia, bringing claims for unjust enrichment




 2         A citation was issued to Makya Little, but not Delmar Little. See FAC Ex. A
 [11-1].
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(Count I) and money had and received (Count II) based on the collection of doubled

civil fines from infractions captured by one speed camera. See Compl. [1-1] ¶¶ 65-80.

They also asserted violations of the Excessive Fines Clause of the Eighth Amendment

(Count III) and the Due Process Clause of the Fourteenth Amendment (Count IV).3

Id. ¶¶ 81-94. On February 28, 2020, the District removed the case to this Court. See

Notice of Removal [1]. After the District moved to dismiss on April 6, 2020, plaintiffs

filed their First Amended Complaint on May 4, 2020, adding the allegations of the

other plaintiffs described above and maintaining Counts I-IV. See generally FAC.

                             STANDARD OF REVIEW

I.    Federal Rule of Civil Procedure 12(b)(1)

      Under Rule 12(b)(1), “[a] court must dismiss a case when it lacks subject matter

jurisdiction.” Mykonos v. United States, 59 F.Supp. 3d 100, 103 (D.D.C. 2014)

(quoting Randolph v. ING Life Ins. & Annuity Co., 486 F.Supp. 2d 1, 4 (D.D.C. 2007)).

This is true when the plaintiff lacks standing. See Am. Freedom Law Ctr. v. Obama,

821 F.3d 44, 49 (D.C. Cir. 2016). In resolving a motion to dismiss for lack of subject

matter jurisdiction, “the factual allegations must be presumed true, and plaintiffs

must be given every favorable inference that can be drawn from them.” Mykonos, 59

F.Supp. 3d at 103 (quoting Scheuer v. Rhodes, 416 U.S. 232, 236 (1974)). “The court

need not, however, accept as true ‘a legal conclusion couched as a factual allegation’




3     Plaintiffs raise their substantive due process claim under the Fourteenth
Amendment, which does not apply to the District. See Bolling v. Sharpe, 34 U.S. 497,
498 (1954). The Due Process Clause of the Fifth Amendment applies to the District.
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or make inferences that are unsupported by the facts set out in the complaint.” Id.

(citations omitted) (quoting Trudeau v. FTC, 456 F.3d 178, 193 (D.C. Cir. 2006)).

      Also, “in deciding a 12(b)(1) motion, a court need not limit itself to the

complaint; rather, it ‘may consider such materials outside the pleadings as it deems

appropriate to resolve the question [of] whether it has jurisdiction in the case.’” Toth

v. Wells Fargo Bank, N.A., 82 F.Supp. 3d 373, 376 (D.D.C. 2015) (citations omitted);

see also Johnson v. Comm’n on Presidential Debates, 202 F. Supp. 3d 159, 167 (D.D.C.

2016) (taking judicial notice of facts posted on the internet); Sodexo Operations, LLC

v. Not-For-Profit Hosp. Corp., 930 F. Supp. 2d 234, 237 n.3 (D.D.C. 2013) (stating

that a court may take judicial notice of public records at the motion to dismiss stage).

II.   Federal Rule of Civil Procedure 12(b)(6)

      Dismissal is also appropriate when a party has failed to set forth “a claim upon

which relief can be granted.” Fed. R. Civ. P. 12(b)(6). “To survive a motion to dismiss,

a complaint must contain sufficient factual matter, accepted as true, to ‘state a claim

to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Although the

allegations in a complaint must be taken as true, a plaintiff must offer “more than

labels and conclusions” or “a formulaic recitation of the elements of a cause of action.”

Twombly, 550 U.S. at 555; see also Jackson v. District of Columbia, 826 F. Supp. 2d

109, 120 (D.D.C. 2011). Courts need not accept as true conclusory “assertions devoid

of further factual enhancement.” Iqbal, 556 U.S. at 679. The Court is not required to

adopt “inferences drawn by plaintiffs if such inferences are unsupported by the facts



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set out in the complaint.” Kowal v. MCI Commc’ns Corp., Inc., 16 F.3d 1271, 1276

(D.C. Cir. 1994). “The complaint should be dismissed if it appears beyond doubt that

under any reasonable pleading, [plaintiff] will be unable to prove any set of facts that

would justify relief.” Bynum v. District of Columbia, 257 F. Supp. 2d 1 (D.D.C. 2002)

(citation omitted).

                                      ARGUMENT

I.    All Plaintiffs Lack Standing To Seek Prospective Relief, and Plaintiffs
      Reginald Matthews, Erica Smith and Delmar Little Lack Standing To Bring
      Any Claims.

      Every plaintiff in federal court must meet the constitutional minimum for

Article III standing by showing an injury, causation and redressability. Lujan v. Defs.

of Wildlife, 504 U.S. 555, 560-61 (1992). “[A] plaintiff must demonstrate standing for

each claim he seeks to press and for each form of relief that is sought.” Davis v. FEC,

554   U.S.   724,     734   (2008)   (internal   quotation   marks   omitted)   (quoting

DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006)).

      A.     Plaintiffs Lack Standing To Seek Injunctive or Declaratory Relief
             Because They Do Not Face Any Ongoing or Imminent Future Injury.

      In a case “where the plaintiffs seek declaratory and injunctive relief, past

injuries alone are insufficient to establish standing.” Dearth v. Holder, 641 F.3d 499,

501 (D.C. Cir. 2011). Rather, a plaintiff must show that he faces an “ongoing injury

or faces an immediate threat of injury.” Id. (citing City of Los Angeles v. Lyons, 461

U.S. 95, 105 (1983)). Thus, there is “a significantly more rigorous burden to establish

standing” when parties seek injunctive relief rather than simply a remedy for past

injuries. Swanson Grp. Mfg. LLC v. Jewell, 790 F.3d 235, 240 (D.C. Cir. 2015)


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(quotations omitted) (citing Chamber of Commerce v. EPA, 642 F.3d 192, 200 (D.C.

Cir. 2011)). Here, Plaintiffs do not have standing to seek injunctive or declaratory

relief because they have not shown any ongoing injury or any “imminent future

injury.” Swanson, 790 F.3d at 240; see also Clapper v. Amnesty Int’l USA, 133 U.S.

1138, 1150 n.5 (2013) (standing for injunctive relief requires a showing of “substantial

risk” the harm will occur).

      Plaintiffs filed their First Amended Complaint on May 4, 2020, claiming that

they were harmed by the District’s demand and collection of unlawfully doubled civil

fines for traffic violations captured by speed cameras within an allegedly non-existent

or improperly marked work zone along Route 295. See, e.g., FAC ¶¶ 80, 85, 111, 129,

144. Plaintiffs ask the Court, in part, to declare “the [District’s] practice of issuing

[Automated Traffic Enforcement] ATE violation notices that doubled the civil fines

for all non-existent or improperly marked work zones is unlawful and

unconstitutional and, therefore, that all such violations are void and unenforceable,”

id. ¶ 216(a), and to grant injunctive relief “prohibiting the [District] from collecting

on and/or otherwise enforcing ATE violation notices that double the civil fines for all

non-existent or improperly marked work zones on Interstate D.C. 295,” id. ¶ 216(b).

      However, before plaintiffs filed the original Complaint, the District had

modified the boundaries of the Route 295 work zone based in part on the near-

completion of the Anacostia bridge rehabilitation project. See Def.’s Mot. to Dismiss

Pls.’ Compl. Ex. A [9-3] (Dorsey Decl.) ¶¶ 5-6; see also Press Release, Dist. Dep’t of

Transp., DDOT Revises Speed Reduction Zone in I-295 Corridor as Two Projects Near



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Completion (Dec. 9, 2019), available at https://ddot.dc.gov/release/ddot-revises-speed-

reduction-zone-i-295-corridor-two-projects-near-completion.       The     Pennsylvania

Avenue Camera and the Exit 1 Camera are now outside the bounds of the work zone,

and the District lifted the speed restrictions in these areas. See Def.’s Mot. to Dismiss

Ex. B [9-4] (Hinton Decl.) ¶¶ 5-6; Hinton Suppl. Decl. ¶¶ 5-6. The speed cameras were

recalibrated to issue citations based on the 50 miles per hour speed limit, and the

District stopped imposing doubled civil fines for speeding infractions issued by these

two cameras. Hinton Decl. ¶¶ 5-6; Hinton Suppl. Decl. ¶ 5, 6 Plaintiffs allege only

that the Exit 2 Camera remains within the boundaries of the work zone. See FAC ¶¶

90, 208.

      Plaintiffs contend that they are at “substantial risk of being assessed

unlawfully doubled fines because [the District’s] conduct on Interstate D.C. 295 is

continuing and on-going.”4 To establish standing to seek prospective relief, however,

the question is not simply whether the District’s conduct is ongoing, but whether

plaintiffs allege any “on-going harm or the immediate threat of injury” to themselves

from that conduct. Dearth, 641 F.3d at 501. Plaintiffs fail to make such allegations.

Although the Matthewses claim they drive the stretch of Route 295 near the


4      To the extent plaintiffs base their standing to seek injunctive relief—
preliminary or permanent—on their allegation that “plaintiffs may suffer irreversible
damage to their credit from threatened collections actions by the Defendant, and the
possible reporting of non-payment to credit agencies, be subject to vehicle
immobilization or seizure and/or holds on vehicle registration renewal and suffer
other harm and inconveniences,” FAC ¶ 215, this claim fails. Plaintiffs’ speculation
that injunctive relief is necessary to prevent future events that are “possible” or “may”
occur undermines their claim to standing. See City of Houston v. Dep’t of Housing
and Urban Affairs, 24 F.3d at 1429 n.6 (quoting Lujan, 504 U.S. at 560) (harm must
“actual or imminent, not conjectural or hypothetical”).
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Pennsylvania Avenue Camera on a near daily basis, FAC ¶¶ 101, 121, that area is no

longer designated as a work zone, the speed limit has returned to 50 miles per hour

and the Pennsylvania Avenue Camera is not imposing doubled fines for infractions.

See Hinton Decl. ¶¶ 5-6; Dorsey Decl. ¶¶ 5-6. The Matthewses do not allege that they

drive on Route 295 near the Exit 2 Camera or are otherwise likely to receive any

future citations with unlawfully doubled civil fines, and as such, they do not face any

immediate threat of future injury and do not have standing to seek injunctive relief.

      In contesting his citation, plaintiff Bekker conceded that he “rarely take[s] 295

South,” and “will now be aware of the active work-zone project in this area, and will

properly adjust [his] speed (if [he] find[s] [him]self driving 295 south again).” See FAC

Ex. H [11-8] at 2. Because Mr. Bekker is unlikely to drive along Route 295 in the

future, he has not alleged any “actual or imminent” harm and therefore lacks

standing to seek injunctive relief. See Lujan, 504 U.S. at 560. Similarly, none of the

remaining plaintiffs alleges that his or her vehicle is likely to be captured again by

the only speed camera alleged to remain on Route 295 within the bounds of a work

zone—the Exit 2 Camera—and issued another citation with an allegedly unlawful

doubled civil fine. Because there is no “continuing violation or the imminence of a

future violation,” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 108 (1998),

plaintiffs do not have standing to seek declaratory or injunctive relief, and their

request should be dismissed.




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       B.     Plaintiffs Reginald Matthews, Delmar Little and Erica Smith Do Not
              Have Standing To Bring Any Claims Because They Have Not Alleged
              Any Injury.

       As noted above, to have standing, a plaintiff must establish that he suffered

an injury in fact that is fairly traceable to the challenged conduct and may be

redressed by a favorable court decision. Lujan, 504 U.S. at 560–61. Additionally, a

plaintiff “must show that he ‘has sustained or is immediately in danger of sustaining

some direct injury’ as the result of the challenged official conduct and the injury or

threat of injury must be both ‘real and immediate,’ not ‘conjectural’ or ‘hypothetical.’”

Lyons, 461 U.S. at 101–102 (quoting Golden v. Zwickler, 394 U.S. 103, 109–110

(1969)) (other citations omitted).

       Although plaintiffs generally allege that they were injured when they were

required to pay the doubled civil fines for their traffic infractions in non-existent or

improperly marked work zones, see, e.g., FAC ¶¶ 171, 182, 188, 196, Mr. Matthews

cannot allege such injury; a hearing examiner dismissed his citation and he was not

required to pay the fine.5 Id. ¶ 130. Plaintiff Erica Smith also fails to allege an injury:

The District has not issued Ms. Smith any citation for speeding in a work zone or

imposed any doubled civil fine. See FAC Ex. C [11-3] at 2 (indicating that non-party

Lisa Smith is liable for citation number F109647320). Similarly, the District did not

issue any notice of violation to Delmar Little. See FAC Ex. A [11-1] at 2 (citation


5      Plaintiffs allege that Mr. Matthews was also harmed by his wife’s payment of
her fine, presumably based on a theory that as a married couple, they share finances.
See FAC ¶ 112. If the Court finds he has such a joint claim, it should be analyzed in
the same respect as Ms. Matthews’s claims and dismissed for the same reasons
outlined below.


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issued to Makya Little alone). Although there may be “circumstances where it is

necessary to grant a third-party standing to assert the rights of others,” plaintiffs

have failed to establish the requisite “close relationship” between themselves and the

allegedly injured parties, or provide any explanation as to why the individuals who

received the citations—Makya Little and Lisa Smith—cannot “protect [their] own

interests” in this litigation. See Kowalski v. Tesmer, 543 U.S. 125, 129-30 (2004); see

also Hughes v. City of Cedar Rapids, Iowa, 840 F.3d 987, 998 (8th Cir. 2016)

(husband’s challenge to wife’s speeding ticket dismissed because he lacked third-

party standing). Reginald Matthews, Erica Smith and Delmar Little each therefore

lack standing, and their claims should be dismissed. See Spokeo Inc. v. Robins, 136

U.S. 1540, 1547 (2016) (“[I]njury in fact, the first and foremost of standing’s three

elements … is a constitutional requirement … .”) (internal quotations omitted).

      C.     Plaintiff Makya Little’s Claims Should Be Dismissed Because She Has
             Not Exhausted Administrative Remedies.

      It is a “long-settled rule of judicial administration that no one is entitled to

judicial relief for a supposed or threatened injury until the prescribed administrative

remedy has been exhausted.” Myers v. Bethlehem, 303 U.S. 41, 50–51 (1938). The

requirement that plaintiffs must first seek relief before the appropriate

administrative agency promotes judicial efficiency as it “give[s] agencies the

opportunity to correct their own errors, afford[s] parties and courts the benefits of

agencies’ expertise, and compil[es] a record adequate for judicial review.” Lannett Co.

v. U.S. Food & Drug Admin., 300 F. Supp. 3d 34, 43 (D.D.C. 2017) (quoting Avocados

Plus Inc. v. Veneman, 370 F.3d 1243, 1247 (D.C. Cir. 2004)).

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      In the District, the system for adjudication of traffic violations detected by

cameras, referred to as Automated Traffic Enforcement (ATE), is governed by the

Traffic Adjudication Act, D.C. Code § 50–2301.01, et. seq. (2001). Motorists issued

citations under this statute have three options to respond:          (1) admit to the

commission of the infraction by payment of the civil fine; (2) admit with explanation;

or (3) deny the commission of the infraction. D.C. Code § 50-2302.05(a). An owner

may deny the infraction and contest the ticket either by mail, through the

Department of Motor Vehicles (DMV) website, or in person at a walk-in hearing. D.C.

Code § 50-2302.05(b)(1). At the hearing, an owner has the right to present testimony

and evidence to dispute liability for the infraction and contest the amount of the fine,

and the District has the burden to establish the violation by “clear and convincing

evidence.” D.C. Code § 50-2302.06; 18 D.C.M.R. § 3012. If the owner receives an

adverse decision on liability or the amount of the fine, the owner has the right to

appeal the decision to an Appeals Board, see D.C. Code § 50-2304.02; 18 D.C.M.R. §

3014.6, and ultimately to the D.C. Superior Court. See D.C. Code § 50-2304.05.

      The District of Columbia Court of Appeals has recognized that a plaintiff’s

deliberate failure to avail herself of this procedure justifies dismissal of a later

complaint challenging her tickets. See Dorsey v. District of Columbia, 917 A.2d 639,

640–41 (D.C. 2007); see also Johnson v. District of Columbia, 368 F. Supp. 2d 30, 43

(D.D.C. 2005) (examining the D.C. Court of Appeals’ interpretation of relevant

District statute in weighing whether to dismiss case for failure to exhaust

administrative remedies). The court in Dorsey rejected plaintiff’s contention that it



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was futile to contest traffic adjudication hearings, noting that without an

administrative appeal, it was “handicapped by the lack of an administrative record

and [could] find no compelling reason to excuse [plaintiff] from exhausting his

administrative remedies.” Dorsey, 917 A.2d at 641 (citing Davis & Assocs. v.

Williams, 892 A.2d 1144 (D.C. 2006)).

      Here, plaintiff Makya Little does not allege that she took any action to

administratively appeal the citation she challenges here. See FAC ¶¶ 76–79. Because

Ms. Little chose to leave the status of her citation unresolved, this is the

quintessential case in which exhaustion should be required. See Agomo v. Williams,

Case No. 2002 CA 006520 B, 2003 WL 21949593, at *3 (D.C. Super. Ct. June 12,

2003). An administrative hearing would have allowed the relevant agencies’ expertise

to be brought to bear, and, if the citation were ultimately dismissed, afforded

complete relief to Ms. Little on her claims. See Johnson, 368 F. Supp. 2d at 44 (noting

that claims for alleged constitutional violations must also be exhausted if

“intertwined with a statutory [violation]”). As such, Ms. Little’s claims should be

dismissed based on her failure to exhaust administrative remedies.

II.   The Complaint Should Be Dismissed Because Plaintiffs Fail To State Claims
      for Relief on the Merits.

      Even aside from these threshold jurisdictional issues, plaintiffs have failed to

state a claim for relief on the merits. Their claims fall short of the pleading standard

and should be dismissed. Iqbal, 556 U.S. at 678.




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      A.     The Amended Complaint Does Not State a Claim for Unjust Enrichment
             or Money Had and Received.

      In their first claim alleging unjust enrichment, plaintiffs contend that their

payment of a doubled civil fine was a benefit conferred upon the District, FAC ¶ 174,

and that the District’s retention of such a payment “violates the fundamental

principles of justice, equity and good conscience, and the circumstances are such that

it would be inequitable for the [District] to retain the [payment].” Id. ¶ 178.

      Unjust enrichment is a legal doctrine rooted in the common law concept of a

“quasi-contract.” Jordan Keys & Jessamy, LLP v. St. Paul Fire & Marine Ins. Co.,

870 A.2d 58, 63 (D.C. 2005). In practice, it serves as a tool for enforcement of a

contractual remedy between parties when no valid contract exists. Id. (citing Black’s

Law Dictionary 324 (6th ed. 1990)). The plaintiff must establish: (1) that he or she

conferred a benefit on the defendant; (2) the defendant retained the benefit conferred;

and (3) the defendant’s retention of the benefit is unjust. Peart v. D.C. Hous. Auth.,

972 A.2d 810, 813-14 (D.C. 2009). The third prong in particular is a subjective inquiry

properly considered on a case-by-case basis. Id. at 814.

      Here, no plaintiff can establish all three elements. Mr. Matthews’s claim fails

on the very first because a hearing officer dismissed his citation and he never paid

the District anything. FAC ¶ 130. Thus, he did not confer a “benefit” on the District.

Similarly, plaintiffs do not allege that Delmar Little, Makya Little or Erica Smith

paid the District anything. See generally FAC; see also FAC Ex. A (showing citation

issued to Makya Little, not Delmar Little), FAC Ex. C (showing citation issued to

non-party Lisa Smith, not Erica Smith). As to Ms. Matthews and plaintiff James


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Gartner, it is not unjust for the District to retain a fine paid by a driver who admits

liability and acknowledges that they were speeding, FAC ¶ 29; Hinton Suppl. Decl. ¶

7, because “[t]he regulation of highway speed is one of the most pressing obligations

of a state.” Agomo v. Fenty, 916 A.2d 181, 193 (D.C. 2007) (quoting Smith v. District

of Columbia, 436 A.2d 53, 58 (D.C. 1981)).

       Moreover, unjust enrichment is a cause of action based on an implied contract

and is, therefore, only appropriate when “there has been no agreement or expression

of assent, by word or act, on the part of either party involved.” Jordan Keys, 870 A.2d

at 63 (quoting Bradkin v. Leverton, 257 N.E.2d 643 (N.Y. 1970)). Here, by paying the

fine, Ms. Matthews and Mr. Gartner admitted liability for the conduct cited in the

notices they received, making the District’s retention of the fines fully justified. See

Def.’s Mot. to Dismiss Ex. C [9-5] at 2 (“To Admit: You may admit to the infraction …

by paying the fine.”). For similar reasons, it is not unjust for the District to retain the

fine paid by Mr. Bekker: his liability for the citation was affirmed by the relevant

administrative appeals process. See FAC ¶¶ 145-149; Ex. B, May 31, 2020 Traffic

Adjudication Appeals Board Final Order (Final Order).

       Plaintiffs also bring a claim for money had and received, alleging that the

District received money in the form of fines from the plaintiffs, which, “in all fairness,”

it should be required to return. FAC ¶¶ 181-184. Money had and received is a common

law theory “very similar” to unjust enrichment, as it is established “[w]here one

person receives money that in equity and good conscience belongs to another.” Credit

Lyonnais-N.Y. v. Wash. Strategic Consulting Grp., Inc., 886 F. Supp. 92, 93 (D.D.C.



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1995) (citing 4934, Inc. v. D.C. Dep’t of Emp’t Servs., 605 A.2d 50, 56 (D.C. 1992) and

Hillyard v. Smither & Mayton, Inc., 76 A.2d 166, 167 (D.C. 1950)); see also Bates v.

Nw. Human. Servs., Inc., 466 F. Supp.2d 69, 102-03 (D.D.C. 2006) (analyzing a money

had and received claim as if one for unjust enrichment). Plaintiffs’ claim for money

had and received fails for the same reasons their unjust enrichment claim fails. Here,

the District never had or received any money from Mr. Matthews, Delmar Little,

Mayka Little, or Erica Smith, nor does “equity and good conscience” require that the

District reimburse a fine paid by Ms. Matthews and Mr. Gartner following their

admission of liability for the underlying citation, or a fine paid by Mr. Bekker

following the affirmation of his liability after an administrative appeal. Cf. Kovach v.

District of Columbia, 805 A.2d 957, 962 n.7 (D.C. 2002) (“There is nothing irrational

about the District’s decision not to refund fines to persons who have admitted

liability.”).

       B.       The Amended Complaint Does Not State a Claim for a Violation of the
                Excessive Fines Clause.

       Plaintiffs assert that the District violated their constitutional protection

against excessive fines when it imposed doubled civil fines for ATE violations that

occurred in an alleged work zone they claim did not exist. FAC ¶¶ 187-188. Plaintiffs

are wrong.

       The Eighth Amendment to the Constitution prohibits the government from

imposing excessive fines. U.S. Const., amend. VIII. “In evaluating a claim under the

Excessive Fines Clause, ‘the standard of gross disproportionality’ requires a court to

‘compare the amount of the forfeiture to the gravity of the [] offense. If the amount of


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the forfeiture is grossly disproportional to the gravity of the defendant’s offense, it is

unconstitutional.’” Pimentel v. City of Los Angeles, Civil Action No. 14-1371 FMO,

2018 U.S. Dist. LEXIS 85054, at *11 (C.D. Cal. May 21, 2018) (quoting United States

v. Bajakajian, 524 U.S. 321, 336-37 (1998)). The four factors to consider in weighing

proportionality are: (1) the nature and extent of the crime, (2) whether the violation

was related to other illegal activities, (3) the other penalties that may be imposed for

the violation, and (4) the extent of the harm caused. United States v. Bikundi, 926

F.3d 761, 795 (D.C. Cir. 2019) (citing Bajakajian, 524 U.S. 321 at 336-37).

      Mr. Matthews’s Eighth Amendment claim fails for the same reason his other

claims fail: His notice of infraction was dismissed, and he did not pay any fine, let

alone an excessive one. See FAC ¶ 130. Similarly, Erica Smith and Delmar Little’s

claims fail because the District has not imposed any penalty against them as they

were not issued any citations. See FAC Ex. C at 2 (indicating that non-party Lisa

Smith is liable for citation number F109647320); FAC Ex. A at 2 (citation issued to

Makya Little alone).

       Ms. Matthews and Mr. Bekker’s claims also fail because even if the Court

credits their allegations that they did not “observe any construction, maintenance,

and/or utility work” in this area, FAC ¶ 135, the $200 fine for speeding was not

“grossly disproportionate” to the offense and therefore not excessive. Bajakajian, 524

U.S. 321, 337 (1998). Ms. Matthews and Mr. Bekker concede they were travelling 52

and 55 miles per hour, respectively, when the posted speed limit was 40 miles per

hour. FAC ¶¶ 94-95, 133-34. Ms. Matthews does not even allege that she was



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unaware of the reduced speed limit or that she could not see the posted speed limit

sign. Id. ¶¶ 96-98. Thus, both were travelling at least 12 miles per hour over the

posted speed limit—a clear violation of the law—and Ms. Matthews and Mr. Bekker

voluntarily paid the $200 fine.

      Although Makya Little and James Gartner each allege that they “did not see

any signs denoting that the area in which they received their ticket was a work zone,

that the speed limit was only forty (40) mph, or that the fines were doubled,” FAC ¶¶

79, 84, their claims fail because the $200 fine for speeding is still not “grossly

disproportionate” to the offense and therefore not excessive. Bajakajian, 524 U.S. 321,

337 (1998). Ms. Little and Mr. Gartner each received a traffic citation for traveling at

least 12 miles per hour above the speed limit in the 40 mile per hour work zone. FAC

¶¶ 76, 81, 86. While they claim not to have seen any signs and that there were “no

temporary traffic control devices or signs alerting drivers to the recalibrated speed

camera,” FAC ¶¶ 78, 83, plaintiffs’ own exhibits contradict this assertion. As

evidenced by Ms. Little’s and Mr. Gartner’s citations, there is a temporary shoulder

divider and at least one large, orange traffic drum at the work site as well as

numerous bright, orange markings. FAC Ex. A; FAC Ex. B. These temporary traffic

control devices provide drivers with notice of the work zone and the associated need

for drivers to reduce their speed. Even if the speed limit had not been reduced to 40

miles per hour, the $200 was not grossly disproportionate to the offense:          each

plaintiff was still driving in excess of the standard 50 miles per hour speed limit. See

Dixon, 666 F.3d at 1342 (“legitimate interest in deterring speeding to ensure public



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safety”); Mills v. City of Grand Forks, 614 F.3d 495, 501 (8th Cir. 2010) (finding that

cities have an interest in protecting against unsafe drivers and declining to find a

speeding fine excessive even when it was greater than that allowed by state law).

      In Pimentel, the district court analyzed whether the city’s fines for parking

meter violations were constitutionally excessive. 2018 U.S. Dist. LEXIS 85054, at

*11-23. There was no dispute that meter violations caused harm to the city because

of their effects on traffic flow, congestion, and fiscal loss. Id. at *22. The court held

that even if the harm to the city was minimal, imposition of a $63 fine for a parking

meter violation, along with any additional penalties, was not grossly disproportionate

to the harm so as to violate the Excessive Fines Clause. Id. at *23.

      Similarly, in Towers v. City of Chicago, 173 F.3d 619, 626 (7th Cir. 1999), the

court found even the imposition of a $500 fine against the owner of a vehicle in which

illegal drugs or firearms were found, whether or not the owner was in possession of

the vehicle or aware of the illegal items, was not an excessive or disproportionate

penalty. Although $500 was not a small sum, “the City, in fixing the amount, was

entitled to take into consideration that the ordinances must perform a deterrent

function.” The same applies here: A $200 fine for speeding—which causes countless

accidents, injuries and deaths each year—is not grossly disproportionate to the

offense. Fines for speeding “are valid municipal endeavors; [l]ike any other exaction,

a fine does more than raise revenue: [i]t also discourages the taxed activity.” Idris v.

City of Chicago, 552 F.3d 564, 56 (7th Cir. 2009). The $200 fine here was not excessive




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because the District has “a legitimate interest in deterring speeding to ensure public

safety.” Dixon v. District of Columbia, 666 F.3d 1337, 1342 (D.C. Cir. 2011).

      C.     The Amended Complaint Does Not State a Claim Under Substantive
             Due Process.

      Plaintiffs assert that they have a “protectable property interest in the payment

of unlawfully doubled fines for traffic violations.” FAC ¶ 195. They further allege that

the District “unreasonably, arbitrarily and irrationally” imposed and collected

doubled civil fines for traffic violations on Route 295 with an “improper purpose (i.e.,

to raise revenue under the pretext of public safety) [which] is arbitrary and shocks

the conscience,” id. ¶¶ 197-198, violating plaintiffs’ substantive due process rights.

The claim cannot be sustained.

      The Fifth Amendment prohibits the government from depriving people of life,

liberty or property without due process of law. U.S. Const., amend. V. To state a claim

under substantive due process, plaintiffs must first allege there is a constitutionally

recognized property interest at stake. See Yates v. District of Columbia, 324 F.3d 724,

725–26 (D.C. Cir. 2003) (asking first whether plaintiff possessed a property interest

before evaluating whether the official conduct he complained of was egregious);

George Wash. Univ. v. District of Columbia, 318 F.3d 203, 206 (D.C. Cir. 2003)

(stating that although the “doctrine [of substantive due process] normally imposes

only very slight burdens on the government to justify its actions, it imposes none at

all in the absence of a liberty or property interest”). The next inquiry is “whether the

behavior of the governmental officer is so egregious, so outrageous, that it may fairly




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be said to shock the contemporary conscience.” Abdelfattah v. U.S. Dep’t of Homeland

Sec., 787 F.3d 524, 540 (D.C. Cir. 2015) (quotations omitted).

             1.     Plaintiffs Do Not Have a Protected Interest in the Payment of
                    Traffic Fines.

      Before turning to whether government action is so “egregious” as to “shock the

contemporary conscience,” the Court should “first determine precisely what

constitutional right has allegedly been violated.” Harvey, 798 F.3d at 1049–50. Here,

plaintiffs claim they have a “protectable property interest in the payment of

unlawfully doubled fines for traffic violations.” FAC ¶ 195. This fails under

substantive due process for two reasons.

      First, the Constitution has an explicit provision protecting against improper

fines—the Excessive Fines Clause in the Eighth Amendment. Plaintiffs cannot,

therefore, repackage their claim under the general rubric of substantive due process.

See County of Sacramento v. Lewis, 523 U.S. 833, 842 (1998) (“Where a particular

Amendment provides an explicit textual source of constitutional protection against a

particular sort of government behavior, that Amendment, not the more generalized

notion of substantive due process, must be the guide for analyzing these claims.”)

(quoting Albright v. Oliver, 510 U.S. 266, 273 (1994)).

      Second, even if plaintiffs could proceed under a substantive due process theory,

they have failed to allege the deprivation of a constitutionally cognizable interest in

“the payment of unlawfully doubled fines for traffic violations.” As already noted, Mr.

Matthews did not pay the fine—his notice of infraction was dismissed—so he has

suffered no deprivation or harm. FAC ¶ 130. Although he alleges he was “forced to


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expend substantial time and endure substantial inconvenience fighting this citation,”

id., that does not constitute a deprivation of the property interest plaintiffs claim to

possess. Id. ¶ 195. Similarly, Erica Smith and Delmar Little were not assessed a

doubled civil fine by the District—lawfully or unlawfully—so they have likewise failed

to allege any deprivation or harm. See FAC Ex. A at 2; FAC Ex. C at 2.

      The remaining plaintiffs’ claims fare no better. The Due Process Clause

protects only “fundamental rights and liberties which are, objectively, deeply rooted

in this Nation’s history and tradition … and implicit in the concept of ordered liberty,

such that neither liberty nor justice would exist if they were sacrificed.” Washington

v. Glucksberg, 521 U.S. 702, 720–21 (1997) (internal quotations and citations

omitted). The Supreme Court and D.C. Circuit have not held a property interest in

the payment of traffic fines to be fundamental or “deeply rooted in this Nation’s

history and tradition.” Id.; see also Idris, 552 F.3d at 566 (holding there is no

fundamental property interest in payment of $90 traffic fine); Gardner v. City of

Cleveland, 656 F. Supp. 2d 751, 761 (N.D. Ohio 2009) (imposition of a $100 civil fine

does not implicate any fundamental right). Because plaintiffs have no fundamental

interest in the payment of “unlawfully doubled traffic fines,” their substantive due

process claim fails. See Abdelfattah, 787 F.3d at 541 (“[M]erely labeling a government

action as arbitrary and capricious, in the absence of a deprivation of life, liberty, or

property, will not support a substantive due process claim”) (quoting Singleton v.

Cecil, 176 F.3d 419, 424 (8th Cir. 1999) (en banc)).




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             2.     Plaintiffs Do Not Allege Behavior that Shocks the Conscience.

      Even if plaintiffs had alleged a protected property interest, a claim for

substantive due process must also allege conduct that is “conscience shocking, in a

constitutional sense.” Lewis, 523 U.S. at 846 (internal quotation marks omitted)

(quoting Collins v. City of Harker Heights, 503 U.S. 115, 128 (1992)); see also Harron

v. Town of Franklin, 660 F.3d 531, 536 (1st Cir. 2011) (explaining that to shock the

conscience, action must be “truly outrageous, uncivilized, and intolerable”). The

question is whether the conduct itself, not the result, shocks the conscience. See id.

at 849 (“[L]iability for negligently inflicted harm is categorically beneath the

threshold of constitutional due process.”); J.E.C.M. ex rel. Saravia v. Lloyd, 352 F.

Supp. 3d 559, 587 (E.D. Va. 2018) (“To be sufficiently egregious [for a substantive due

process violation], the official conduct must do more than produce a harmful or

unfortunate result ….”). Conduct found to “shock the conscience” includes a police

officer forcibly pumping an individual’s stomach, see Rochin v. California, 342 U.S.

165, 172–73 (1952), and a corrections officer’s brutal and repeated beatings of an

inmate, see Norris v. District of Columbia, 737 F.2d 1148, 1151 (D.C. Cir. 1984).

      Nothing in the Amended Complaint comes close to the conscience-shocking

standard. Plaintiffs challenge the allegedly unlawful designation of a particular area

of highway as a work zone, and the imposition and collection of doubled fines for

traffic violations in that area. FAC ¶ 196. This fails to meet the requirement of

“egregious” or “outrageous” conduct. See Abdelfattah, 787 F.3d at 540. Plaintiffs

attempt to support their argument by alleging that the District “has a systemic



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custom and practice of configuring its ATE system to maximize revenue,” FAC ¶ 201,

and that use of the ATE system for an “improper purpose (i.e., to raise revenue under

the pretext of public safety) is arbitrary and shocks the conscience,” id. ¶¶ 197-201.

Even if the District operated its traffic enforcement system to maximize revenue—

which is disputed—that conduct would not be egregious or shock the conscience in a

constitutional sense. See Idris, 552 F.3d at 566 (“A system that simultaneously raises

money and improves compliance with traffic laws has much to recommend it and

cannot be called unconstitutionally whimsical.”).

III.   If the Court Finds Plaintiffs Have Sufficiently Alleged a Constitutional
       Violation, the Amended Complaint Should Still Be Dismissed Because
       Plaintiffs Cannot Establish Municipal Liability Under Section 1983.

       Section 1983 provides a cause of action for “the deprivation of any rights,

privileges, or immunities secured by the Constitution and laws” of the United States.

42 U.S.C. § 1983. This provision authorizes lawsuits to enforce certain constitutional

protections, but “does not provide an avenue for relief every time a state actor violates

a federal law.” City of Rancho Palos Verdes v. Abrams, 544 U.S. 113, 119 (2005).

Municipal liability under Section 1983 cannot be predicated on a respondeat superior

theory. Monell v. Dep’t of Soc. Servs. of N.Y., 436 U.S. 658, 690-91 (1978). Rather,

“[p]laintiffs who seek to impose liability on local governments under § 1983 must

prove that ‘action pursuant to official municipal policy’ caused their injury.” Connick

v. Thompson, 563 U.S. 51, 60 (2011) (quoting Monell, 436 U.S. at 691).

       The D.C. Circuit has identified four ways official municipal policy can be

demonstrated:     (1) express municipal policy, (2) actions of a final municipal



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“policymaker,” (3) persistent conduct by non-policymakers (i.e., “custom” with force

of law), and (4) “deliberate indifference” to a risk of constitutional injury. See Baker

v. District of Columbia, 326 F.3d 1302, 1306-07 (D.C. Cir. 2003) (citations omitted).

Each theory has its own “elements,” which a Section 1983 plaintiff bears the burden

of pleading, Blue v. District of Columbia, 811 F.3d 14, 20 (D.C. Cir. 2015), and a claim

for municipal liability that fails to do “more than recite the requisite causal elements

of custom or policy liability” is insufficient. Smith v. District of Columbia, 674 F.

Supp. 2d 209, 212 (D.D.C. 2009). Only customs that are “so permanent and well

settled as to constitute a ‘custom or usage’ with the force of law” can support a Section

1983 claim. Dickerson v. District of Columbia, 315 F. Supp. 3d 446, 456 (D.D.C. 2018)

(quoting Monell, 436 U.S. at 691); see also Ryan v. District of Columbia, 306 F. Supp.

3d 334, 346 (D.D.C. 2018) (“When a plaintiff seeks to establish municipal liability in

the absence of an explicit policy, he must allege concentrated, fully packed, precisely

delineated scenarios as proof that an unconstitutional policy or custom exists.”)

Additionally, under any theory, a municipal liability claim separately requires proof

of causation—specifically, an “affirmative link” between the alleged municipal policy

and the alleged constitutional violation, “such that [the former] was the moving force

behind the [latter].” Baker, 326 F.3d at 1306.

      Here, plaintiffs’ theory of municipal liability appears to rest on their allegation

that District has a “custom or practice of using ATE for revenue generation,” FAC ¶

1, and that “[t]he institutional revenue incentive drives [the District] to configure its

ATE system to maximize revenue in a widespread and persistent manner.” Id. ¶ 59;



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see also id. ¶¶ 91, 190, 201. But this allegation alone, even if true, fails to establish

municipal liability because there is nothing inherently unlawful or unconstitutional

about an automated traffic system that raises revenue. See Idris, 552 F.3d at 566

(“That the City's system raises revenue does not condemn it.”).

      To the extent plaintiffs make the more specific allegation that the District has

a custom of unconstitutionally calibrating its ATE cameras and imposing doubled

civil fines, see FAC ¶¶ 41, 91, they fail to sufficiently allege that such a custom is

“permanent and well settled.” Dickerson, 315 F. Supp. 3d at 456. The Amended

Complaint contains factual allegations concerning the allegedly unlawful and

unconstitutional use of only three speed cameras within a single work zone. See FAC

¶¶ 76–150. When “the complaint sets forth no factual allegations regarding the

existence and enforcement of a municipal policy, custom or practice that directly

caused the violation … [t]his pleading defect is fatal.” Collington v. District of

Columbia, 828 F. Supp. 2d 210, 215 (D.D.C. 2011); see also Doe v. District of

Columbia, 796 F.3d 96, 105 (D.C. Cir. 2015) (“Proof of a single incident of

unconstitutional activity is not sufficient to impose liability under Monell, unless

proof of the incident includes proof that it was caused by an existing, unconstitutional

municipal policy.”) (quoting City of Oklahoma City v. Tuttle, 471 U.S. 808, 823-24

(1985) (alteration omitted)). Because there are no allegations regarding the unlawful

calibration of ATE cameras or designation of work zones outside one particular




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highway improvement project, plaintiffs fail to demonstrate any unlawful custom for

purposes of Monell liability, and their Section 1983 claims should be dismissed.6

IV.   Plaintiffs Teresa Matthews, James Gartner and Dmitry Bekker’s Claims Are
      Barred by Res Judicata; Alternatively, Their Claims Are Barred by Collateral
      Estoppel.

      Even if the Court disagrees with the arguments presented above, Ms.

Matthews, Mr. Gartner and Mr. Bekker’s claims are still subject to dismissal under

the doctrine of res judicata or, alternatively, collateral estoppel. As noted above, each

was issued a citation for speeding in a work zone after a camera located on Route 295

captured their vehicles travelling more than ten miles per hour above the 40 miles

per hour speed limit, and each was assessed a $200 doubled civil fine. FAC ¶¶ 102,

138. Both Ms. Matthews and Mr. Gartner paid the fines for their respective citations.

See FAC ¶ 109 (Ms. Matthews paid the $200.00 fine on December 19, 2019); Hinton

Suppl. Decl. ¶ 7 (Mr. Gartner’s citation paid on April 30, 2020). Mr. Bekker contested

his citation but was found liable by the hearing officer for the offense of speeding in

a work zone.7 See FAC ¶¶ 145-146; FAC Ex. C [11-9] at 2. Because the facts



6      Plaintiffs also fail to demonstrate an express municipal policy or allege any
actions of a policymaker caused their alleged injuries because they argue that the
work zone designations in this case were improper under D.C. Code, not that those
requirements themselves are unconstitutional. See, e.g., FAC ¶ 80, 207. Thus, it is
not the express municipal policy that caused the alleged harm, but rather the
District’s alleged failure to follow the express policy. See Davis v. District of
Columbia, 800 F. Supp. 2d 28, 35 (D.D.C. 2011) (holding there is no Monell liability
where the alleged injury was caused by actions “in violation of” official policy because
“policy was not in any way the ‘moving force’ behind the alleged violations”) (emphasis
in original); see also Parrat v. Taylor, 451 U.S. 527, 537 n.3 (1981).
7      Mr. Bekker filed a request for reconsideration of the hearing examiner’s
decision, which was denied. He then filed an administrative appeal, which was
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underlying their claims in this case are the same as those underlying their citations,

and they had the opportunity to contest the citations in an administrative hearing

and raise constitutional claims through the administrative appeals process, their

claims are now barred by res judicata or, alternatively, collateral estoppel.

      A.     Teresa Matthews, James Gartner and Dmitry Bekker’s Claims Are
             Barred by Res Judicata.

      Under District of Columbia law, claims that could have been raised in a prior

action, whether or not they were, are ordinarily barred by the doctrine of res judicata,

or claim preclusion.8 Crane v. Crane, 614 A.2d 935, 938 (D.C. 1992) (“Principles of res

judicata preclude a party from raising claims which he or she has already raised, or

had the opportunity to raise, in an earlier proceeding.”) (emphasis in original);

Watergate W., Inc. v. Barclays Bank, S.A., 759 A.2d 169, 179 (D.C. 2000) (citing

Patton v. Klein, 746 A.2d 866, 869-70 (D.C. 1999) (“The doctrine operates to bar in

the second action not only claims which were actually raised in the first, but also

those arising out of the same transaction which could have been raised.”)). “Courts in

the District of Columbia use a three-part test in determining the applicability

of claim preclusion: ‘(1) whether the claim was adjudicated finally in the first action;

(2) whether the present claim is the same as the claim which was raised or which


denied. See FAC ¶¶ 147-149; Ex. B, Final Order. Mr. Bekker has the right to appeal
the denial within 30 days to the D.C. Superior Court. See D.C. Code § 50-2304.05.

8      District of Columbia law applies because “[f]ederal courts extend to state court
judgments the same preclusive effect those judgments would receive in the
originating state.” Brewer v. District of Columbia, 105 F. Supp. 3d 74, 85–86 (D.D.C.
2015) (citing 28 U.S.C. § 1738); Migra v. Warren City Sch. Dist. Bd. of Educ., 465 U.S.
75, 81 (1984) (holding state court judgments are given the same preclusive effect they
would have in the rendering state’s courts).
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might have been raised in the prior proceeding; and (3) whether the party against

whom the plea is asserted was a party or in privity with a party in the prior case.’”

Sheppard v. District of Columbia, 791 F. Supp. 2d 1, 6 (D.D.C. 2011) (quoting

Youngin's Auto Body v. Dist. of Columbia, 711 F.Supp.2d 72, 78 (D.D.C.2010)).

Applying these principles, Mr. Gartner, Mr. Bekker and Ms. Matthews’s claims are

barred.

             1.     Payment of the Fine or a Finding of Liability Are Final
                    Adjudications.

      Res judicata applies to the findings of administrative proceedings “when the

agency is acting in a judicial capacity, resolving disputed issues of fact properly before

it which the parties have an adequate opportunity to litigate.” Oubre v. D.C. Dep’t of

Emp’t Servs., 630 A.2d 699, 703 (D.C. 1993) (citing William J. Davis, Inc. v.

Young, 412 A.2d 1187, 1194 (D.C. 1980)). “The threshold inquiry is whether the

earlier proceeding is the essential equivalent of a judicial proceeding.” Kovach, 805

A.2d at 960 (quoting Oubre, 630 A.2d at 703).

      In Kovach v. District of Columbia, the D.C. Court of Appeals found that the

administrative hearing process for traffic and motor vehicle violations is judicial in

nature, and “supports application of principles of res judicata.” 805 A.2d at 961. The

court based its decision on the procedural protections that exist in this context. See

id. Perhaps more importantly, the court found that payment of the fine for a violation

has the same preclusive effect as an adverse decision rendered after an

administrative hearing. Id. at 962. Therefore, both the adverse finding of liability




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against Mr. Bekker and payment of the fines by Ms. Matthews and Mr. Gartner were

final adjudications for purposes of res judicata.

             2.     Plaintiffs’ Claims Arise from the Same Cause of Action and Could
                    Have Been Raised Through the Administrative Hearing and
                    Appeals Process.

      In determining whether a party’s claims are barred, the court looks to whether

they arise from the same cause of action, Patton, 746 A.2d at 870 (D.C. 1999), and

whether the claims could have been raised in the prior proceeding. Crane, 614 A.2d

at 938. In determining whether claims arise from the same cause of action, the court

examines whether “there is a common nucleus of facts.” Patton, 746 A.2d at 870.

“Thus, a party is barred from initiating, in a subsequent suit, a claim based on facts

‘related in time, space, origin or motivation’ to the original case.” Watergate W., 759

A.2d at 179 (quoting RESTATEMENT (SECOND) JUDGMENTS § 24(2) (1982)); see

also Faulkner v. Gov’t Emps. Ins. Co. (GEICO), 618 A.2d 181, 183 (D.C. 1992) (“[T]he

nature and scope of a cause of action is determined by the factual nucleus, not the

theory on which a plaintiff relies.”) (quotations omitted).

      Plaintiffs Matthews, Gartner and Bekker’s claims in this case arise out of their

respective citations for speeding in a work zone, and share the same “factual nucleus”

with the underlying citations and the claims that were or could have been raised in

an administrative hearing had they contested the citation:        that there was no

operative work zone in the area where they were cited, and if there was, the signage

was improper. FAC ¶¶81-85, 92-109; see also Carroll v. City of Cleveland, 522 F.

App’x 299, 304 (6th Cir. 2013) (finding res judicata barred federal litigation arising



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from a traffic violation, after payment of the fine, because the facts underlying the

litigation were “identical to the facts that confronted the plaintiffs when they received

their notices of liability”). Instead of paying the fine, Ms. Matthews and Mr. Garnder

could have denied the violations—as Mr. Bekker did. See FAC ¶¶ 131-144. At an

administrative hearing, they would have had the opportunity to present testimony

that they did not observe any work in the area and argue that the work zone

designation violated D.C. Code § 50-2201.02(20), and therefore the speed limit should

have been 50 miles per hour. Further, Ms. Matthews could have presented

photographs of the work zone signage and argued, as she does now, that it failed to

comply with the requirements of D.C. Code § 50-2201.04c.

      Even plaintiffs’ constitutional claims and requests for injunctive and

declaratory relief could have been raised through the administrative appeals process.

See D.C. Code § 2-510(a)(3). D.C. Code § 2-510(a)(3) allows a party to raise a

constitutional challenge to agency action through judicial review of an administrative

decision in D.C. Superior Court. See, e.g., DeVita v. District of Columbia, 74 A.3d 714

(D.C. 2013) (deciding a constitutional challenge to the District’s use of ATE through

a motorist’s administrative appeal of an adverse hearing decision finding him liable

for speeding). Because these plaintiffs had the opportunity and either failed to raise

their claims through the administrative appeals process or were unsuccessful, they

are barred by res judicata from raising them now. See Gilles v. Ware, 615 A.2d 533,

539 (D.C. 1992) (citations omitted) (after “ample opportunity to litigate,” plaintiff

cannot “create a new cause of action merely by restating his claim” under a different



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legal theory); see also Carroll, 522 F. App’x at 304 (holding res judicata barred

motorists’ due process claims arising out of traffic infractions where motorists paid

the fines instead of contesting the ticket because they could have raised constitutional

claims through the administrative appeals process in state court); Idris, 552 F.3d at

565 (“Because all plaintiffs had an opportunity to present their contentions in the

administrative process, and then to state court, the City might well have had a good

argument that claim preclusion bars this litigation. Litigants can’t reserve federal

issues for a federal court.”).

       B.     Alternatively, Teresa Matthews, James Gartner and Dmitry Bekker’s
              Claims Are Barred by Collateral Estoppel.

       District of Columbia law also recognizes the doctrine of collateral estoppel (or

issue preclusion), which “restricts a party in certain circumstances from relitigating

issues or facts actually litigated and necessarily decided in an earlier proceeding.”

Kovach, 805 A.2d at 962 (internal quotation and citation omitted). Collateral estoppel

bars a court in a subsequent action from reaching a decision on an issue of fact or law

decided in an earlier case where “(1) the issue is actually litigated and (2) determined

by a valid, final judgment on the merits; (3) after a full and fair opportunity for

litigation by the parties or their privies; (4) under circumstances where the

determination was essential to the judgment, and not merely dictum.” Wash. Med.

Ctr., Inc. v. Holle, 573 A.2d 1269, 1283 (D.C. 1990) (citing Smith, 562 A.2d at 617); Ali

Baba Co. v. WILCO, Inc., 482 A.2d 418, 421 (D.C. 1984)).

       For many of the same reasons plaintiffs Matthews, Gartner and Bekker’s

claims are barred by res judicata, they are also barred by collateral estoppel. The

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court in Kovach held that for purposes of collateral estoppel, payment of a traffic

fine—like an administrative hearing—operates as an adjudication of the facts

essential to liability for the infraction, and a final decision on the merits. 805 A.2d at

962. Each plaintiff had a full and fair opportunity to challenge liability for the offense

through the administrative process based on the same factual issue raised now: the

improper designation of the work zone under D.C. Code § 50-2201.02(20) and

unlawful doubling of civil fines. Because plaintiffs’ claims here necessarily rely on the

absence of a work zone, see FAC ¶¶ 172, 182, 190, 199, 213, and the determination of

that issue was essential to liability for purposes of collateral estoppel, they are barred

from relitigating it here and their claims should be dismissed.

                                    CONCLUSION

      For the foregoing reasons, the Court should grant the District’s motion and

dismiss plaintiffs’ First Amended Complaint with prejudice.

Dated: June 17, 2020.             Respectfully submitted,

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